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Waiver of Indictment

 

UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA )
)

v. ) Criminal No. 17-CR-10265-DJC
)
)

SALLY ANN JOHNSON

WAIVER OF INDICTMENT

I, SALLY ANN JOHNSON, the above-named defendant, who is accused of attempting to
interfere with the administration of the internal revenue laws, in violation of 26 U.S.C. § 7212(a),
being advised of the nature of the charge, the proposed information, and my rights, hereby waive
in open court on October 5, 2017, prosecution by indictment and consent that the proceeding may
be by information instead of by indictment.

”

Sally Ann son
Defendant

PayiD-Petnizzi, Esq.
avid Garvin, Esq.

Counsel for the Defendant

 

Before: Op mae O} C6p~s

U.S. District Judge Denise J. Casper
